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16                              IN THE UNITED STATES DISTRICT COURT
17                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
18
   JOHN DOE, on behalf of himself and all             Case No. 3:22-cv-3580
19 others similarly situated,
                                                      CLASS ACTION
20                          Plaintiffs,
                                                      CLASS ACTION COMPLAINT
21          v.
                                                      DEMAND FOR JURY TRIAL
22 META PLATFORMS, INC.,

23                              Defendant.
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 1          Plaintiff John Doe, on behalf of himself and all others similarly situated, alleges as follows

 2 upon personal knowledge as to his own conduct and on information and belief as to all other matters

 3 based on an investigation by counsel, such that each allegation has evidentiary support or is likely

 4 to have evidentiary support upon further investigation and discovery:

 5 I.       INTRODUCTION

 6          1.     Plaintiffs bring this action on behalf of themselves and millions of other Americans

 7 whose medical privacy has been violated by Facebook’s Pixel tracking tool. As explained herein,

 8 Facebook knows (or should have known) that its Pixel tracking tool is being improperly used on

 9 hospital websites resulting in the wrongful, contemporaneous, re-direction to Facebook of patient

10 communications to register as a patient, sign-in or out of a supposedly “secure” patient portal,

11 request or set appointments, or call their provider via their computing device. This unlawful

12 collection of data is done without the knowledge or authorization of the patient, like Plaintiffs, in

13 violation of federal and state laws as well as Facebook’s own contract with its users.

14          2.     When a patient communicates with a health care provider’s website where the

15 Facebook Pixel is present on the patient portal login page, the Facebook Pixel source code causes

16 the exact content of the patient’s communication with their health care provider to be re-directed

17 to Facebook in a fashion that identifies them as a patient.

18          3.     For example, Plaintiff John Doe is a patient of the Medstar Health System in

19 Baltimore, Maryland. In the course of receiving medical care at MedStar, Plaintiff Doe has used

20 the “MyMedStar” patient portal to review his lab results, make appointments, and communicate

21 with his providers.

22          4.     Unbeknownst to Plaintiff John Doe, and millions of other patients around the

23 country, when he signed-in to the patient portal, the Facebook Pixel secretly deployed on the

24 webpage sent the fact that he has clicked to sign-in to the patient portal to Facebook.

25          5.     The data that the Facebook Pixel causes to be re-directed from the patient’s

26 computing device to Facebook includes:

27                 a.      The     patient    was     communicating       with     Medstar     via    its

28                         www.MedStarHealth.org property;
                                                      1
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 1                 b.      The patient engaged in an ‘ev’ or event called a SubscribedButtonClick;

 2                 c.      The content of the button the patient clicked was “Login to myMedstar”

 3                 d.      The page from which the button the patient clicked was Patient Portal – i.e.

 4                         Home;

 5                 e.      The patient had previously been at a Medstar page about breast health;

 6                 f.      The patient’s Internet Protocol address;

 7                 g.      Identifiers that Facebook uses to identify the patient and his/her device,

 8                         including cookies named c-user, datr, fr, and fbp (i.e. Facebook Pixel); and

 9                 h.      Browser attribute information sufficient to fingerprint the patient’s device.

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22          6.     As explained in further detail below, patient-status is protected by HIPAA, which

23 requires a valid HIPAA-compliant authorization before it is collected by Facebook.

24          7.     Neither Facebook nor any of the hospitals that deployed the Facebook Pixel on their

25 web properties (“Facebook Partner Medical Providers”) procured HIPAA authorizations for the

26 disclosure of patient status and health information to Facebook.

27          8.     Facebook’s collection of patient status and the content of patient communications

28 with their medical providers, including when they register, log-in and logout of patient portals and
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 1 to set up appointments, in the absence of a HIPAA authorization violates Facebook’s privacy

 2 promises to users.

 3          9.      Facebook promises users, that “publishers can send us information through Meta

 4 Business Tools [such as] the Meta Pixel” but Facebook “require[s] each of these partners to have

 5 lawful rights to collect, use, and share your data before providing any data to us.”

 6          10.     However, Facebook knowingly receives patient data—including patient portal

 7 usage information— from hundreds medical providers in the United States that have deployed the

 8 Facebook Pixel on their web properties.

 9          11.     To date, through experts, Plaintiffs have identified at least 664 hospital systems or

10 medical provider web properties where Facebook has received patient data via the Facebook Pixel.

11          12.     Despite knowingly receiving health-related information from medical providers,

12 Facebook has not taken any action to enforce or validate its requirement that medical providers

13 obtain adequate consent from patients before providing patient data to Facebook.

14          13.     Facebook monetizes the information it receives through the Facebook Pixel

15 deployed on medical providers’ web properties by using it to generate highly-profitable targeted

16 advertising on- and off-Facebook.

17          14.     The targeted advertising Facebook offers for sale includes the ability to target

18 patients based on specific actions that a patient has taken on the medical providers’ websites.

19          15.     Facebook also offers the ability to engage in remarketing based on positive targeting

20 – that is, serving specific ad campaigns to patients based on the specific actions those patients took

21 on the medical providers’ website. For example, Facebook could target ads to a patient who had

22 (1) used the patient portal and (2) viewed a page about a specific condition, such as cancer.

23          16.     Facebook also offers medical providers the ability to engage in remarketing based

24 on negative targeting – that is, ensuring that ads are not shown to users who have taken specific

25 action. This could mean that Facebook would exclude existing patients from a medical provider’s

26 advertising campaign in order to establish new patients.

27          17.     Facebook employs thousands of account managers or representatives to help

28 partners, including medical providers, use the Facebook Pixel and other tools.
                                                      3
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 1           18.    Through its account managers and representatives, Facebook is aware that it is

 2 receiving patient data from hundreds of different medical providers in the United States without

 3 patient knowledge, consent, or valid HIPAA authorizations.

 4           19.    Facebook also utilizes “The Facebook Crawler” that scans pages of partner apps and

 5 websites and through which Facebook gathers information about the app or website, including its

 6 title and description.

 7           20.    Through the Facebook Crawler, Facebook is aware that it is receiving patient data.

 8           21.    Facebook has also been served subpoenas in other actions regarding disclosure of

 9 patient information through the Facebook Pixel.

10           22.    Facebook is also aware of every web property where the Facebook Pixel is deployed

11 and fully capable of conducting the same types of expert analysis that Plaintiffs conducted to

12 identify at least 664 hospitals or medical provider properties where the Facebook Pixel is present.

13           23.    Facebook’s actions described herein give rise to causes of action for: (1) breach of

14 contract; (2) breach of the duty of good faith and fair dealing; (3) intrusion upon seclusion /

15 violation of Article I, section 1 of the California Constitution; (4) federal and state electronic

16 communications privacy and wiretap claims; (5) the California Invasion of Privacy Act, Cal. Penal

17 Code §§ 631 and 632; (6) Negligent Misrepresentation; and (7) Violation of California’s Unfair

18 Competition Law.

19 II.       JURISDICTION AND VENUE

20           24.    This Court has personal jurisdiction over the Defendant because it has sufficient

21 minimum contacts with this District in that it operates and markets their services throughout the

22 country and in this District. Additionally, Defendant is headquartered in this District.

23           25.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. §1331 because this

24 action arises under 18 U.S.C. §2510, et. seq., (the Electronic Communications Privacy Act). This

25 Court further has subject matter jurisdiction pursuant to 28 U.S.C. §1332(d) (the Class Action

26 Fairness Act) because the amount in controversy exceeds $5,000,000, exclusive of interest and

27 costs, and a member of the Class is a citizen of a State different from any Defendant.

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 1          26.    This Court has supplemental jurisdiction over the remaining state law claims

 2 pursuant to 28 U.S.C. §1367 because the state law claims form part of the same case or controversy

 3 under Article III of the United States Constitution.

 4          27.    Venue is proper in this district because a substantial part of the events or omissions

 5 giving rise to the claim occurred in this judicial district and because Facebook’s Terms of Use

 6 governing its relationship with its users and developers adopt California law and choose California

 7 as the venue for disputes.

 8 III.     PARTIES TO THE LITIGATION

 9          28.    Plaintiff John Doe is a Maryland resident, Facebook user, and a patient of MedStar

10 Health, Inc. (“MedStar”) who used MedStar’s myMedStar patient portal, currently located at

11 https://www.medstarhealth.org/mymedstar-patient-portal, to view medical records, lab results, and

12 otherwise communicate with his provider. Plaintiff’s use of the myMedStar patient portal included

13 the time during which the Facebook Pixel was secretly deployed on the portal login page.

14          29.    Defendant Meta Platforms, Inc. (referred to herein by its previous name of

15 “Facebook”) is a publicly traded Delaware corporation headquartered in Menlo Park, California,

16 and does business throughout the United States and the world, deriving substantial revenue from

17 interstate commerce.

18 IV.      FACTS COMMON TO ALL COUNTS

19          A.     HEALTH PRIVACY LAWS IN THE UNITED STATES

20          30.    Patient health care information in the United States is protected by federal law under

21 the Health Insurance Portability and Accountability Act of 1996 (“HIPAA”) and its implementing

22 regulations promulgated by the United States Department of Health and Human Services (“HHS”).

23          31.    The HIPAA Privacy Rule establishes “national standards to protect individuals'

24 medical records and other individually identifiable health information (collectively defined as

25 “protected health information”) and applies to health plans, health care clearinghouses, and those

26 health care providers that conduct certain health care transactions electronically. The Rule requires

27 appropriate safeguards to protect the privacy of protected health information and sets limits and

28 conditions on the uses and disclosures that may be made of such information without an
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 1 individual’s authorization. The Rule also gives individuals rights over their protected health

 2 information, including rights to examine and obtain a copy of their health records, to direct a

 3 covered entity to transmit to a third party an electronic copy of their protected health information

 4 in an electronic health record, and to request corrections. The Privacy Rule is located at 45 CFR

 5 Part    160    and    Subparts    A   and    E    of    Part   164.”   https://www.hhs.gov/hipaa/for-

 6 professionals/privacy/index.html

 7          32.     Under 45 C.F.R. § 164.502, a health care provider or business associate of a health

 8 care provider “may not use or disclose ‘protected health information’ except as permitted or

 9 required by” the HIPAA Privacy Rule.

10          33.     Under 45 C.F.R. 160.103, the Privacy Rule defines “protected health information”

11 or PHI as “individually identifiable health information” that is “transmitted by electronic media;

12 maintained in electronic media; or transmitted or maintained in any other form or medium.”

13          34.     Under 45 C.F.R. § 160.103, the Privacy Rule defines “individually identifiable

14 health information” as “a subset of health information, including demographic information

15 collected from an individual” that is (1) “created or received by a health care provider;” (2)

16 “[r]elates to the past, present, or future physical or mental health or condition of an individual; the

17 provision of health care to an individual; or the past, present, or future payment for the provision

18 of health care to an individual;” and (3) either (a) identifies the individual; or (b) with respect to

19 which there is a reasonable basis to believe the information can be used to identify the individual.”

20          35.     Under 45 C.F.R. § 164.514, the HIPAA de-identification rule states that “health

21 information is not individually identifiable only if” (1) an expert “determines that the risk is very

22 small that the information could be used, alone or in combination with other reasonably available

23 information, by an anticipated recipient to identify an individual who is a subject of the

24 information” and “documents the methods and results of the analysis that justify such

25 determination’” or (2) “the following identifiers of the individual or of relatives, employers, or

26 household members of the individual are removed: Names … Medical record numbers; … Account

27 numbers … Device identifiers and serial numbers; … Web Universal Resource Locators (URLs);

28 Internet Protocol (IP) address numbers; … and any other unique identifying number, characteristic,
                                                       6
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 1 or code.” In addition, the covered entity must not “have actual knowledge that the information

 2 could be used alone or in combination with other information to identify an individual who is a

 3 subject of the information.”

 4          36.    Under 42 U.S.C. § 1320d-6, any “person [individual … or a corporation] who

 5 knowingly and in violation of this part—(1) uses or causes to be used a unique health identifiers;

 6 [or] (2) obtains individually identifiable health information relating to an individual … shall be

 7 punished” by fine or, in certain circumstances, imprisonment, with increased penalties for “intent

 8 to sell, transfer, or use individually identifiable health information for commercial advantage[.]”

 9 The statute further provides that a “person … shall be considered to have obtained or disclosed

10 individually identifiable health information … if the information is maintained by a covered entity

11 … and the individual obtained or disclosed such information without authorization.”

12          37.    Patient status alone is protected by HIPAA.

13          38.    Guidance from HHS instructs health care providers that patient status is protected

14 by HIPAA. In Guidance Regarding Methods for De-identification of Protected Health Information

15 in Accordance with the Health Insurance Portability and Accountability Act Privacy Rule, HHS

16 sets out:

17                 Identifying information alone, such as personal names, residential addresses,
                   or phone numbers, would not necessarily be designated as PHI. For instance,
18                 if such information was reported as part of a publicly accessible data source,
                   such as a phone book, then this information would not be PHI because it is
19                 not related to health data. … If such information was listed with health
                   condition, health care provision or payment data, such as an indication that
20                 the individual was treated at a certain clinic, then this information would be
                   PHI.1
21
           39.     In its guidance for Marketing, HHS further instructs:
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                   The HIPAA Privacy Rule gives individuals important controls over whether
23                 and how their protected health information is used and disclosed for
                   marketing purposes. With limited exceptions, the Rule requires an
24                 individual’s written authorization before a use or disclosure of his or her
                   protected health information can be made for marketing. … Simply put, a
25                 covered entity may not sell protected health information to a business
                   associate or any other third party for that party’s own purposes. Moreover,
26                 covered entities may not sell lists of patients to third parties without obtaining
27   1
     https://www.hhs.gov/sites/default/files/ocr/privacy/hipaa/understanding/coveredentities/De-
28 identification/hhs_deid_guidance.pdf at 5 (emphasis added).
                                                       7
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 1                 authorization from each person on the list.2

 2           40.   HHS has previously instructed that HIPAA covers patient-status alone:

 3                 a.     “The sale of a patient list to a marketing firm” is not permitted under HIPAA.

 4                        65 Fed. Reg. 82717 (Dec. 28, 2000);

 5                 b.     “A covered entity must have the individual’s prior written authorization to

 6                        use or disclose protected health information for marketing communications,”

 7                        which would include disclosure of mere patient status through a patient list.

 8                        67 Fed. Reg. 53186 (Aug. 14, 2002);

 9                 c.     It would be a HIPAA violation “if a covered entity impermissibly disclosed

10                        a list of patient names, addresses, and hospital identification numbers.” 78

11                        Fed. Reg. 5642 (Jan. 25, 2013); and

12                 d.     The only exception permitting a hospital to identify patient status without

13                        express written authorization is to “maintain a directory of individuals in its

14                        facility” that includes name, location, general condition, and religious

15                        affiliation when used or disclosed to “members of the clergy” or “other

16                        persons who ask for the individual by name.” 45 C.F.R. § 164.510(1). Even

17                        then, patients must be provided an opportunity to object to the disclosure of

18                        the fact that they are a patient. 45 C.F.R. § 164.510(2).

19           41.   There is no HIPAA-exception for the Internet or online patient portals.

20           B.    FACEBOOK’S CONTRACTUAL PROMISES

21           42.   Every Facebook user is legally deemed to have agreed to the Terms, Data Policy,

22 and Cookie Policy via a checkbox on the sign-up page; and the Terms, Data Policy, and Cookie

23 Policy are binding upon Facebook and its users.

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27   2
    https://www.hhs.gov/sites/default/files/ocr/privacy/hipaa/understanding/coveredentities/marketin
28 g.pdf at 1-2 (emphasis added).
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 1           43.   The Facebook Data Policy expressly provides that Facebook “requires” businesses

 2 that use the Facebook Pixel “to have lawful rights to collect, use, and share your data before

 3 providing any data to [Facebook].”

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20           44.   But Facebook does not “require” medical providers to have lawful rights to share

21 patient data associated with their respective patient portals and appointment software before

22 sending it to Facebook.

23           45.   Instead, Facebook merely includes a provision in its form contract which creates an

24 unenforced “honor system” for publishers, stating that, by using the Facebook Business Tools, the

25 publisher “represent[s] and warrant[s] that [it has] provided robust and sufficient prominent notice

26 to users regarding the Business Tool Data collection, sharing, and usage.”

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12          46.     In reality, Facebook does not actually verify publishers have obtained adequate
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13 consent per the contract.

14          47.     Instead, the Facebook Pixel is blindly made available to any willing publisher

15 regardless of their privacy policies, consent processes, or the nature of their business.

16          48.     Facebook’s contract with medical providers for use of the Facebook Pixel does not

17 mention HIPAA at all.

18          49.     Facebook does not take any action to discourage medical providers from using the

19 Facebook Pixel.

20          50.     Facebook actively encourages medical providers to use the Facebook Pixel for their

21 marketing campaigns.

22          C.      HOW THE PIXEL WORKS

23          51.     Facebook operates the world’s largest social media company.

24          52.     Facebook maintains profiles on users that include users’ real names, locations, email

25 addresses, friends, likes, and communications that Facebook associates with personal identifiers

26 including IP addresses, cookies, and device identifiers.

27   3
    In contrast, Facebook requires publishers in the European Union to provide “all necessary
28 consents” in a “verifiable manner.”
                                                      10
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 1            53.    Facebook also tracks non-users across the web through its widespread Internet

 2 marketing products and source code.

 3            54.    Facebook’s revenue is derived almost entirely from selling targeted advertising to

 4 Facebook users on Facebook.com and to all Internet users on non-Facebook sites that integrate

 5 Facebook marketing source code on their websites.

 6            55.    Facebook Business is the division that provides advertising services to developers.

 7 Facebook Business and the advertising tools it provides to developers are focused on trade and

 8 commerce.

 9            56.    The Facebook Pixel, a product for Facebook Business, is a “piece of code” that lets

10 developers “measure, optimize and build audiences for … ad campaigns.”4

11            57.    The Facebook Pixel is an invisible 1x1 web bug that Facebook makes available to
12 web-developers to help track ad-driven activity from Facebook and others on their website.

13            58.    Key features of the Facebook Pixel include its ability to help developers:
14                   a.     “Measure cross-device conversions” and “understand how your cross-device
15                          ads help influence conversion”;
16                   b.     “Optimize delivery to people likely to take action” and “ensure your ads are
17                          shown to the people most likely to take action”; and
18                   c.     “Create custom audience from website visitors” and create “dynamic ads [to]
19                          help you automatically show website visitors the products they viewed on
20                          your website – or related ones.”
21            59.    Facebook describes the Facebook Pixel as “a snippet of Javascript code” that “relies
22 on Facebook cookies, which enable [Facebook] to match … website visitors to their respective

23 Facebook User accounts.”

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28   4
         https://www.facebook.com/business/learn/facebook-ads-pixel
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 1            60.    Facebook further explains “How the Facebook Pixel Works”5

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 7            61.    Facebook provides simple instructions for developers to set up the Facebook Pixel:

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19            62.    Facebook creates the Facebook code for each developer who installs it.

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28       https://www.facebook.com/business/learn/facebook-ads-pixel

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 1          63.    Facebook recommends that the Pixel code be placed early in the source code for any

 2 given webpage or website to ensure that the user will be tracked:

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10          64.    By executing the code sooner, Facebook has designed the Pixel such that Facebook
11 receives the information about patient actions on the medical provider’s properties

12 contemporaneous with their making.

13          65.    As soon as a patient take any action on a webpage which includes the Facebook
14 Pixel—such as clicking a button to register, login, or logout of a patient portal or to create an

15 appointment—Facebook’s source code commands the patient’s computing device to re-direct the

16 content of the patient’s communication to Facebook while the exchange of the communication

17 between the patient and the medical provider is still occurring.

18          66.    By design, Facebook receives the content of a patient’s patient portal sign-in
19 communication immediately after the patient clicks the log-in button and before the medical

20 provider receives it.

21          67.    In all cases, the content of the patient’s portal and appointment communications are
22 re-directed to Facebook while the communications are still occurring.

23          68.    The cookies that Facebook identifies patients with include, but are not necessarily
24 limited to, cookies named: c_user, datr, fr, and _fbp.

25          69.    The c_user cookie is a means of identification for Facebook users. The c_user cookie
26 value is the Facebook equivalent of a user identification number. Each Facebook user account has

27 one – and only one – unique c_user cookie. Facebook uses the c_user cookie to record user activities

28 and communications.
                                                    13
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 1           70.   A skilled computer user can obtain the c_user cookie value for any Facebook user

 2 by (1) going to the user’s Facebook page, (2) right-clicking on their mouse, (3) selecting ‘View page

 3 source,’ (4) executing a control-F function for “fb://profile,” and (5) copying the number value that

 4 appears after “fb://profile” in the page source code of the target Facebook user’s page.

 5           71.   It is even easier to find the Facebook account associated with a c_user cookie: one

 6 simply needs to log-in to Facebook, and then type www.facebook.com/#, with # representing the

 7 c_user cookie identifier. For example, the c_user cookie value for Mark Zuckerberg is 4. Logging

 8 in to Facebook and typing www.facebook.com/4 in the web browser retrieves Mark Zuckerberg’s

 9 Facebook page: www.facebook.com/zuck.

10           72.    The Facebook datr cookie identifies the patient’s specific web browser from which

11 the patient is sending the communication. It is an identifier that is unique to the patient’s specific

12 web browser and is therefore a means of identification for Facebook users.

13           73.   Facebook keeps a record of every datr cookie identifier associated with each of its

14 users, and a Facebook user can obtain a redacted list of all datr cookies associated with his or her

15 Facebook account from Facebook.

16           74.   Any Facebook user can view the specific datr cookie identifiers that Facebook has

17 associated with their account by using the Facebook Download Your Information tool.

18           75.   The Facebook fr cookie is an encrypted combination of the c_user and datr cookies.6

19           76.   The Facebook _fbp cookie is a Facebook identifier that is set by Facebook source
20 code and associated with Defendant’s use of the Facebook Pixel. The _fbp cookie is a Facebook

21 cookie that masquerades as a first-party cookie to evade third party cookie blockers and share data

22 more directly between a medical provider and Facebook.

23           77.   The medical provider or its developer then simply copy-paste the Facebook Pixel
24 code that Facebook creates and providers into the medical provider’s web-property.

25 / / /

26
     6
     See Facebook Tracking Through Social Plug-ins: Technical Report prepared for the Belgian
27
   Privacy Commission, Mar. 27, 2015, available at
28 https://securehomes.esat.kuleuven.be/~gacar/fb_tracking/fb_pluginsv1.0.pdf.
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 1           78.   Facebook expressly admits that the Pixel “log[s] when someone takes an action” such

 2 as “adding an item to their shopping cart or making a purchase.”

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14           79.   For medical providers, the actions that the Facebook Pixel logs include:

15                 a.     When a patient clicks to register for the patient portal;

16                 b.     When a patient clicks to log-in to the patient portal;

17                 c.     When a patient clicks to logout of the patient portal;

18                 d.     When a patient sets up an appointment;

19                 e.     When a patient clicks a button to call the provider; and

20                 f.     The specific communications a patient exchanges at the provider’s property,

21                        including those relating to specific providers, conditions, and treatments and

22                        the timing of such actions, including whether they are made while a patient

23                        is still logged-in to a patient portal or around the same time that the patient

24                        has scheduled an appointment, called the medical provider, or logged in or

25                        out of the patient portal.

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 1            D.     FACEBOOK PUBLICLY ACKNOWLEDGES THAT HEALTH-BASED
                     ADVERTISING IS INAPPROPRIATE
 2

 3            80.    Facebook has publicly acknowledged that targeted advertising based on health

 4 information is not appropriate.

 5            81.    On November 9, 2021, Facebook announced that it was removing the ability to target

 6 users on “topics people may perceive as sensitive, such as options referencing causes, organizations,

 7 or public figures that relate to health[.]”7

 8            82.    Facebook’s announcement was a public relations success:

 9                   a.     Reuters published a story headlined “Facebook plans to remove thousands of

10                          sensitive ad-targeting options” and lead the story with a sentence about

11                          Facebook’s “plans to remove detailed ad-targeting options that refer to

12                          ‘sensitive’ topics, such as ads based on interactions with content around …

13                          health[.]”8

14                   b.     The New York Times published a similar story with a similar headline, “Meta
15                          plans to remove thousands of sensitive ad-targeting categories: Ad buyers
16                          will no long be able to use topics such as health … to target people[.]”9
17                   c.     Many more, similar, articles were published, giving Facebook’s users the
18                          misimpression that Facebook would not allow targeting based on health
19            83.    But Facebook did not change the most insidious types of targeting based on health:
20 those marketing campaigns from medical providers that disclose patient identities and their

21 individually identifiable health information to Facebook for the purpose of targeted marketing based

22 on their communications with their medical providers.

23 / / /

24

25   7
      https://www.facebook.com/business/news/removing-certain-ad-targeting-options-and-expanding-
     our-ad-controls
26
     8
    https://www.reuters.com/technology/facebook-removes-target-options-advertisers-some-topics-
27 2021-11-09/
     9
28       https://www.nytimes.com/2021/11/09/technology/meta-facebook-ad-targeting.html

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 1           84.    Facebook clarified that the change was limited to “people’s interactions with

 2 content” on the Facebook “platform.”

 3           85.    Facebook then informed advertisers that they could still use “website custom

 4 audiences and lookalike” to “help reach people who have already engaged with a business or group’s

 5 website or products.” In the case of medical providers, the “people who have already engaged” are

 6 patients.

 7           E.     FACEBOOK CHANGED ITS CONTRACTUAL PRIVACY PROMISES IN
                    2018
 8
             86.    Prior to April 2018, Facebook’s contract did not “require” partners to have the
 9
     lawful rights to share user data before doing so.
10
             87.    Upon information and belief, Facebook changed its contract with users on or about
11
     April 19, 2018, which added a clause stating: “We require each of these partners to have lawful
12
     rights to collect, use and share your data before providing any data to us.”
13
             88.    The following is a side-by-side comparison of the pre- and post-April 2018 contract
14
     provisions:
15
                     Before April 19, 2018                              After April 19, 2018
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 1 V.       CLASS ACTION ALLEGATIONS

 2          89.    Plaintiffs file this as a class action on behalf of themselves and the following class:

 3          All Facebook users who are current or former patients of medical providers in the
            United States with web properties through which Facebook acquired patient
 4          communications relating to medical provider patient portals, appointments, phone
            calls, and communications associated with patient portal users, for which neither
 5          the medical provider nor Facebook obtained a HIPAA, or any other valid, consent.

 6          90.    Excluded from the Class are the Court and its personnel and the Defendant and its

 7 officers, directors, employees, affiliates, legal representatives, predecessors, successors and

 8 assigns, and any entity in which any of them have a controlling interest.

 9          91.    The members of the Class are so numerous that joinder is impracticable.

10          92.    Common questions of law and fact are apt to drive resolution of the case, exist as to

11 all members of the Class and predominate over any questions affecting solely individual members

12 of the Class including, but not limited to, the following:

13                 a.      Whether the Facebook Pixel is designed to send individually identifiable

14                         information to Facebook;

15                 b.      Whether the Facebook Terms and Privacy Notice are valid contracts;

16                 c.      Whether Facebook failed to require medical providers to have lawful rights

17                         to share patient data with Facebook before deploying the Facebook Pixel;

18                 d.      Whether Facebook acquired the content of patient communications;

19                 e.      Whether the patient class provided Facebook with authorization to acquire

20                         their communications with their medical providers, including through the

21                         patient portal, appointment forms, and phone calls;

22                 f.      Whether the Facebook Pixel’s presence and use on medical provider

23                         websites where it discloses actions that patients take relating to patient

24                         portals, appointments, and phone calls to their medical providers is highly

25                         offensive;

26                 g.      Whether Facebook’s acquisition of the content of communications between

27                         patients and their medical providers occurred contemporaneous to their

28                         making;
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 1                  h.      Whether Facebook breached its contract with users;

 2                  i.      Whether the information at issue has economic value; and

 3                  j.      Whether Facebook unjustly profited from its collection of patient portal,

 4                          appointment, and phone call information.

 5           93.    The named Plaintiff’s claims are typical of the claims of other Class members, as

 6 all members of the Class were similarly affected by Facebook’s wrongful conduct in violation of

 7 federal and California law, as complained of herein.

 8           94.    The named Plaintiff will fairly and adequately protect the interests of the members

 9 of the Class and has retained counsel that is competent and experienced in class action litigation.

10 The named Plaintiff has no interests that conflict with, or are otherwise antagonistic to, the interests

11 of, other Class members.

12           95.    A class action is superior to all other available methods for the fair and efficient

13 adjudication of this controversy since joinder of all members is impracticable. Further, as the

14 damages that individual Class members have suffered may be relatively small, the expense and

15 burden of individual litigation make it impossible for members of the Class to individually redress

16 the wrongs done to them. There will be no difficulty in management of this action as a class action.

17 VI.       TOLLING

18           96.    Any applicable statute of limitations has been tolled by Defendant’s knowing and

19 active concealment of the misrepresentations and omissions alleged herein. Through no fault or

20 lack of diligence, Plaintiff and members of the Class were deceived and could not reasonably

21 discover Defendant’s deception and unlawful conduct.

22           97.    Plaintiff and members of the Class did not discover and did not know of any facts

23 that would have caused a reasonable person to suspect that Defendant was acting unlawfully and

24 in the manner alleged herein. As alleged herein, the representations made by Facebook were

25 material to Plaintiff and members of the Class at all relevant times. Within the time period of any

26 applicable statutes of limitations, Plaintiff and members of the Class could not have discovered

27 through the exercise of reasonable diligence the alleged wrongful conduct.

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 1          98.     At all times, Defendant is and was under a continuous duty to disclose to Plaintiff

 2 and members of the Class the true nature of the disclosures being made and the lack of an actual

 3 “requirement” before the data was shared with it.

 4          99.     Defendant knowingly, actively, affirmatively and/or negligently concealed the facts

 5 alleged herein. Plaintiff and members of the Class reasonably relied on Defendant’s concealment.

 6          100.    For these reasons, all applicable statutes of limitation have been tolled based on the

 7 discovery rule and Defendant’s concealment, and Defendant is estopped from relying on any

 8 statutes of limitations in defense of this action.

 9 VII.     CAUSES OF ACTION

10                                     FIRST CAUSE OF ACTION

11                                      BREACH OF CONTRACT
12          101.    Plaintiffs hereby incorporate all prior paragraphs as if fully stated herein.
13          102.    Facebook requires users to click a box indicating that, “By clicking Sign Up, you
14 agree to our Terms, Data Policy and Cookies Policy.”

15          103.    “Click-wrap agreements” such as those at issue herein are valid and binding
16 contracts.

17          104.    The Facebook Terms are binding on Facebook and its users.
18          105.    The Facebook Data Policy is binding on Facebook and its users.
19          106.    The Facebook Cookies Policy is binding on Facebook and its users.
20          107.    The Facebook Data Policy promises users that Facebook “requires each of
21 [Facebook’s] partners to have lawful rights to collect, use and share your data before providing any

22 data to [Facebook].”

23          108.    Facebook breached this contractual promise, as described in detail above, by not
24 requiring its partners that are medical providers to obtain patient consent before sharing patient

25 status and other data relating to online patient portal registration, logins, and logouts as well as

26 appointment information with Facebook through the Facebook Pixel and through other means.

27          109.    In addition to the express contract provision set forth above, an implied contract
28 existed between Facebook and its users that Facebook would not conspire with others to violate
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 1 Plaintiffs’ legal rights to privacy in their individually identifiable health information.

 2          110.    Plaintiffs are Facebook account holders who used patient portals and/or

 3 appointment-related functionality of their medical providers’ respective web-properties through

 4 which Facebook obtained their individually identifiable health information.

 5          111.    Plaintiff Doe used the MyMedStar patient portal by signing in and out of the portal

 6 to access medical records, lab results, and otherwise to communicate with his provider.

 7          112.    The patient health information that Facebook obtained in breach of the contract

 8 included:

 9                  a.      Patient identifiers including, but not limited to, email addresses, IP

10                          addresses, persistent cookie identifiers, device identifiers, and browser

11                          fingerprint information;

12                  b.      the data and time of patient registrations for their medical providers’ patient

13                          portals;

14                  c.      log-in and logout times for their medical providers’ patient portals;

15                  d.      the contents of communications that patients exchange inside their medical

16                          providers’ patient portals immediately before logging out of those portals;

17                  e.      the contents of communications relating to appointments that patients made

18                          with their medical providers; and

19                  f.      the user’s status as a patient of their medical provider.

20          113.    Facebook’s breach caused Plaintiff and Class members the following damages:

21                  a.      Nominal damages for breach of contract;

22                  b.      General damages for invasion of their privacy rights in an amount to be

23                          determined by a jury without reference to specific pecuniary harm;

24                  c.      Sensitive and confidential information including patient status and

25                          appointments that Plaintiff and Class members intended to remain private

26                          are no longer private;

27                  d.      Facebook eroded the essential confidential nature of the patient-provider

28                          relationship;
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 1                  e.     Facebook took something of value from Plaintiff and Class members and

 2                         derived benefits therefrom without Plaintiff’s and Class members’

 3                         knowledge or informed consent and without sharing the benefit of such

 4                         value;

 5                  f.     Benefit of the bargain damages in that Facebook’s contract stated that

 6                         payment for the service would consist of a more limited set of collection of

 7                         personal information than that which Facebook actually charged.

 8                                    SECOND CAUSE OF ACTION

 9                                  GOOD FAITH AND FAIR DEALING

10          114.    Plaintiffs hereby incorporate all other paragraphs as if fully stated herein.
11          115.    A valid contract exists between Plaintiffs and Facebook.
12          116.    The contract specifies that California law governs the parties’ relationship.
13          117.    Facebook prevented Plaintiff and Class members from receiving the full benefit of
14 the contract by intercepting the content of protected individually identifiable health information

15 exchanged with medical providers.

16          118.    By doing so, Facebook abused its power to define terms of the contract, specifically
17 the meaning of the term “require” in Facebook’s promise that it would “require” partners to have

18 lawful rights to share users’ data with Facebook before doing so and then taking no action (and

19 actually encouraging) medical providers to share protected health information without valid patient

20 authorization.

21          119.    By doing so, Facebook did not act fairly and in good faith.
22          120.    Facebook’s breach caused Plaintiff and Class members the following damages:
23                  a.     Nominal damages for breach of contract;
24                  b.     General damages for invasion of their privacy rights in an amount to be
25                         determined by a jury without reference to specific pecuniary harm;
26                  c.     Sensitive and confidential information including patient status and
27                         appointments that Plaintiff and Class members intended to remain private
28                         are no longer private;
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 1                 d.     Facebook eroded the essential confidential nature of the patient-provider

 2                        relationship;

 3                 e.     Facebook took something of value from Plaintiff and Class members and

 4                        derived benefits therefrom without Plaintiff’s and Class members’

 5                        knowledge or informed consent and without sharing the benefit of such

 6                        value; and

 7                 f.     Benefit of the bargain damages in that Facebook’s contract stated that

 8                        payment for the service would consist of a more limited set of collection of

 9                        personal information than that which Facebook actually charged.

10                                     THIRD CAUSE OF ACTION

11      INTRUSION UPON SECLUSION—CONSTITUTIONAL INVASION OF PRIVACY
12          121.   Plaintiffs hereby incorporate all other paragraphs as if fully stated herein.
13          122.   Article I, section 1 of the California Constitution provides:
14
             All people are by nature free and independent and have inalienable rights.
15           Among these are enjoying and defending life and liberty, acquiring, possessing,
             and protecting property, and pursuing and obtaining safety, happiness, and
16           privacy.

17 Cal. Const. art. I, § 1 (emphasis added).

18          123.   Plaintiffs had no knowledge and did not consent or authorize Facebook to obtain the
19 content of their communications with their medical providers as described herein.

20          124.   Plaintiffs enjoyed objectively reasonable expectations of privacy surrounding
21 communications with their medical providers relating to the respective patient portals and

22 appointments based on:

23                 a.     The medical providers status as their health care providers and the
24                        reasonable expectations of privacy that attach to such relationships;
25                 b.     HIPAA;
26                 c.     the Electronic Communications Privacy Act; and
27                 d.     Facebook’s promise that it would “require” partners to have lawful
28                        permission to share their data before Facebook would collect it.
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 1           125.   Plaintiffs’ claims are based on the following private facts:

 2                  a.     that Plaintiffs are patients of the various medical providers;

 3                  b.     The specific dates and times Plaintiffs clicked to log-in or log-out of the

 4                         various medical providers’ patient portals;

 5                  c.     The specific and detailed communications exchanged while logged-in to a

 6                         patient portal; and

 7                  d.     The specific dates and times where Plaintiffs requested appointments and

 8                         from which doctor’s or practice group pages such appointments were

 9                         requested.

10           126.   Facebook’s conduct was intentional and intruded on Plaintiff’s and Class members’

11 medical communications which constitute private conversations, matters, and data.

12           127.   Facebook’s conduct in acquiring patient portal and appointment communications

13 would be highly offensive to a reasonable person because:

14                  a.     Facebook conspired with Plaintiffs’ medical providers to violate a cardinal

15                         rule of the provider-patient relationship;

16                  b.     Facebook’s conduct violated federal law designed to protect patient privacy;

17                  c.     Facebook’s conduct violated the ECPA; and

18                  d.     Facebook’s conduct violated the express promises it made to users.

19           128.   Facebook’s breach caused Plaintiff and Class members the following damages:

20                  a.     Nominal damages for breach of contract;

21                  b.     General damages for invasion of their privacy rights in an amount to be

22                         determined by a jury without reference to specific pecuniary harm;

23                  c.     Sensitive and confidential information including patient status and

24                         appointments that Plaintiff and Class members intended to remain private

25                         are no longer private;

26                  d.     Facebook eroded the essential confidential nature of the patient-provider

27                         relationship;

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 1                  e.     Facebook took something of value from Plaintiff and Class members and

 2                         derived benefits therefrom without Plaintiff’s and Class members’

 3                         knowledge or informed consent and without sharing the benefit of such

 4                         value; and

 5                  f.     Benefit of the bargain damages in that Facebook’s contract stated that

 6                         payment for the service would consist of a more limited set of collection of

 7                         personal information than that which Facebook actually charged.

 8                                    FOURTH CAUSE OF ACTION

 9           VIOLATION OF THE ELECTRONIC COMMUNICATIONS PRIVACY ACT

10           129.   Plaintiffs hereby incorporate all other paragraphs as if fully stated herein.
11           130.   The Electronic Communications Privacy Act (“ECPA”) prohibits the intentional
12 interception of the contents of any electronic communication. 18 U.S.C. § 2511.

13           131.   The ECPA protects both the sending and receipt of communications.
14           132.   18 U.S.C. § 2520(a) provides a private right of action to any person whose electronic
15 communications are intercepted.

16           133.   Facebook intentionally intercepted the electronic communications that Plaintiffs
17 exchanged with their respective medical providers on the providers properties where the Facebook

18 Pixel was present.

19           134.   The transmissions of data between Plaintiffs and their medical providers qualify as
20 communications under the ECPA’s definition in 18 U.S.C. § 2510(12).

21           135.   Facebook acquired patient communications with their medical providers as alleged
22 herein contemporaneous with their making.

23           136.   The intercepted communications include:
24                  a.     the content of patient registrations for various patient portals, including
25                         clicks on buttons to “Register” or “Signup” for said portals;
26                  b.     the content patient log-in and logout of the various patient portals, including
27                         clicks to “Sign-in,” “Log-in,” “Sign-out,” or “Log-out.”
28 / / /
                                                      25
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 1                  c.     the contents of communications that patients exchange inside various patient

 2                         portals immediately before logging out of those portals; and

 3                  d.     the contents of communications relating to appointments with medical

 4                         providers.

 5           137.   The following constitute “devices” within the meaning of 18 U.S.C. § 2510(5):

 6                  a.     The cookies Facebook used to track patients’ communications;

 7                  b.     The patients’ browsers;

 8                  c.     The patients’ computing devices;

 9                  d.     Facebook’s web-servers;

10                  e.     The web-servers of the properties of the medical providers where the

11                         Facebook Pixel was present; and

12                  f.     The Facebook Pixel source code deployed by Facebook to effectuate its

13                         acquisition of patient communications.

14           138.   Facebook is not a party to patient communications with their medical providers.

15           139.   Facebook received the content of patient communications through the surreptitious

16 redirection of them from the patients’ computing devices to Facebook.

17           140.   Patients did not consent to Facebook’s acquisition of their patient portal,

18 appointment, and phone call communications with their medical providers.

19           141.   Facebook did not obtain legal authorization to obtain patient communications with

20 their medical providers relating to patient portals, appointments, and phone calls.

21           142.   Facebook did not require any medical provider to obtain the lawful rights to share

22 the content of patient communications relating to patient portals, appointments, and phone calls.

23           143.   Any purported consent that Facebook received from medical providers to obtain

24 patient communications content was not valid.

25           144.   In acquiring the content of patient communications relating to patient portals,

26 appointments, and phone calls, Facebook had a purpose that was tortious, criminal, and designed

27 to violate state constitution provisions including:

28 / / /
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 1                  a.      A knowing intrusion into a private, place, conversation, or matter that would

 2                          be highly offensive to a reasonable person;

 3                  b.      A violation of 42 U.S.C. § 1320d-6, which is a criminal offensive punishable

 4                          by fine or imprisonment;

 5                  c.      Violation of state unfair business practice statutes;

 6                  d.      Violation of HIPAA; and

 7                  e.      Violation of Article I, section 1 of the California Constitution.

 8          145.    Facebook knew that such conduct would be highly offensive, as evidence by its

 9 announcement in DATE, that it would no longer allow advertising targeted based on health, yet

10 continued to use the Facebook Pixel on medical provider properties for that purpose.

11                                     FIFTH CAUSE OF ACTION

12                        THE CALIFORNIA INVASION OF PRIVACY ACT
13                                    (Cal. Penal Code §§ 631 and 632)
14          146.    Plaintiffs hereby incorporate all other paragraphs as if fully stated herein.
15          147.    The California Invasion of Privacy Act (CIPA) is codified at Cal. Penal Code §§
16 630-638. The Act begins with its statement of purpose: “The legislature hereby declares that

17 advances in science and technology have led to the development of new devices and techniques for

18 the purpose of eavesdropping upon private communications and that the invasion of privacy

19 resulting from the continual and increasing use of such devices and techniques has created a serious

20 threat to the free exercise of personal liberties and cannot be tolerated in a free and civilized

21 society.” Cal. Penal Code § 630.

22          148.    Cal. Penal Code § 631(a) provides, in pertinent part: “Any person who, by means of
23 any machine, instrument, or contrivance, or in any other manner …. willfully and without the

24 consent of all parties to the communication, or in any unauthorized manner, reads, or attempts to

25 read, or to learn the contents or meaning of any message, report, or communication while the same

26 is in transit or passing over any wire, line, or cable, or is being sent from, or received at any place

27 within this state; or who uses, or attempts to use, in any manner, or for any purpose, or to

28 communicate in any way, any information so obtained, or who aids, agrees with, employs, or
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 1 conspires with any person or persons to lawfully do, or permit, or cause to be done any of the acts

 2 or things mentioned above in this section, is punishable by a fine not exceeding two thousand five

 3 hundred dollars.”

 4          149.   Cal. Penal Code § 632 provides, in pertinent part, that it is unlawful for any person

 5 to “intentionally and without the consent of all parties to a confidential communication,” to “use[]

 6 [a] recording device to … record the confidential communication.” As used in the statute, a

 7 “confidential communication” is “any communication carried on in circumstances as may

 8 reasonably indicate that any part to the communication desired it to be confined to the parties

 9 thereto[.]”

10          150.   Facebook is a “person” within the meaning of CIPA §§ 631 and 632.

11          151.   Facebook did not have the consent of all parties to learn the contents of or record

12 the confidential communications at issue.

13          152.   Facebook is headquartered in California, designed and contrived and effectuated its

14 scheme to track patient communication at issue here from California, and has adopted California

15 substantive law to govern its relationship with users.

16          153.   At all relevant times, Facebook’s conduct alleged herein was without the

17 authorization and consent of the Plaintiff and Class members.

18          154.   Facebook’s actions were designed to learn or attempt to learn the meaning of the

19 patient portal and appointment communications patients exchanged with their medical providers.

20          155.   Facebook’s learning of or attempt to learn the contents of patient communications

21 occurred while they were in transit or in the process of being sent or received.

22                                    SIXTH CAUSE OF ACTION

23                              NEGLIGENT MISREPRESENTATION
24          156.   Plaintiffs hereby incorporate all other paragraphs as if fully stated herein.
25          157.   Facebook represented to Plaintiff and the members of the Class that a fact was true,
26 namely, that before receiving the confidential information at issue, Facebook “requires” business

27 “to have lawful rights to collect, use, and share [Plaintiffs’ and Class members’] data before

28 providing any data” to Facebook.
                                                     28
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 1          158.     Facebook’s representation was not true.

 2          159.     Although Facebook may have honestly believed that the representation was true,

 3 Facebook had no reasonable grounds for believing the representation was true when it was made.

 4          160.     Facebook intended that Plaintiff and the members of the Class rely on the

 5 representation.

 6          161.     Plaintiff and the members of the Class reasonably relied on Facebook’s

 7 representation.

 8          162.     Plaintiff and the Class were harmed as set forth above.

 9          163.     Plaintiff and Class members’ reliance on Facebook’s representation was a

10 substantial factor in causing the harm.

11                                    SEVENTH CAUSE OF ACTION

12                 VIOLATION OF CALIFORNIA’S UNFAIR COMPETITION LAW
13                                (Cal. Bus. & Prof. Code §§ 17200, et seq.)
14          164.     Plaintiffs hereby incorporate all other paragraphs as if fully stated herein.
15          165.     California Business and Professions Code section 17200 (“UCL”) prohibits any
16 “unlawful, unfair, or fraudulent business act or practice and unfair, deceptive, untrue or misleading

17 advertising . . . .”

18          166.     Facebook has engaged in unlawful, fraudulent, and unfair business acts and
19 practices in violation of the UCL.

20          167.     Defendant has engaged in unlawful acts or practices under section 17200 by its
21 violations of the California Constitution’s right to privacy, ECPA and California Penal Code

22 sections 631 and 632, through the acts and practices set forth in this Complaint.

23          168.     Defendant has engaged in fraudulent business acts or practices under section 17200
24 because its misrepresentations and omissions regarding its requirement that businesses have lawful

25 rights to collect, use, and share Plaintiff’s and Class members’ data before providing any data to

26 Defendant, and Defendant’s receipt of the confidential information at issue, were intended to, were

27 likely to, and did deceive reasonable consumers such as Plaintiff and the Class. The information

28 Defendant misrepresented and concealed would be, and is, material to reasonable consumers
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 1 because Defendant does not require businesses to have lawful rights to collect, use, and share

 2 Plaintiff’s and Class members’ data before providing any data to Defendant and Defendant receives

 3 the confidential information at issue nonetheless.

 4          169.    Defendant has engaged in unfair acts and practices under section 17200 based on

 5 the acts and practices alleged herein, namely, that Defendant claims that it requires businesses to

 6 “have lawful rights to collect, use, and share [Plaintiff’s and Class members’] data before providing

 7 any data” to Defendant, but in reality knows (or should have known) that its Pixel tracking tool is

 8 being improperly used on hospital websites resulting in the wrongful, contemporaneous, re-

 9 direction to Facebook of patient communications without the knowledge or authorization of

10 Plaintiffs.

11          170.    Defendant’s actions offend public policy.

12          171.    Defendant’s conduct, misrepresentations and omissions have also impaired

13 competition within the health care market in that those actions have prevented Plaintiff and the

14 Class from making fully informed decisions about whether to communicate online with their

15 healthcare providers and to use their healthcare providers’ website in the first instance.

16          172.    Plaintiff and the Class have suffered an injury in fact, including the loss of money

17 and/or property, as a result of Defendant’s unfair, unlawful and/or deceptive practices, to wit, the

18 disclosure of their personally identifiable data which has value as is demonstrated by the use and

19 sale of it by Defendant. While only an identifiable “trifle” of injury is needed to be shown, as set

20 forth above Plaintiffs, patients, and the public at large value their private health information at more

21 than a trifle. And, sale of this confidential and valuable information to has now diminished the

22 value of such information to Plaintiff and the Class.

23          173.    Defendant’s actions caused damage to and loss of Plaintiff’s and other patients’

24 property right to control the dissemination and use of their personally identifiable patient data and

25 communications.

26          174.    Defendant’s actions caused damage to and loss of Plaintiff’s and other patients’

27 property rights to control the dissemination and use of the personally identifiable communications.

28          175.    Defendant’s representation that it requires businesses to “have lawful rights to
                                                       30
                                          CLASS ACTION COMPLAINT
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 1 collect, use, and share [Plaintiff’s and Class members’] data before providing any data” to

 2 Defendant was untrue. Again, had Plaintiff and Class members known these facts, they would not

 3 have used their health care provider’s website.

 4          176.    The wrongful conduct alleged herein occurred, and continues to occur, in the

 5 conduct of Defendant’s business. Defendant’s wrongful conduct is part of a pattern or generalized

 6 course of conduct that is still perpetuated and repeated, in the State of California.

 7          177.    Plaintiff and the Class request that this Court enjoin Defendant from continuing its

 8 unfair, unlawful, and/or deceptive practices and to restore to Plaintiff and the Class, in the form of

 9 restitution, any money Defendant acquired through its unfair competition.

10 VIII. PRAYER FOR RELIEF

11          WHEREFORE, Plaintiffs respectfully request that this Court:

12          1.      Certify the proposed Class, designating Plaintiff John Doe as the named

13 representative of the Class, and designating the undersigned as Class Counsel;

14          2.      Award compensatory damages, including statutory damages where available, to

15 Plaintiff and the Class against Defendant for all damages sustained as a result of Defendant’s

16 wrongdoing, in an amount to be proven at trial, including interest thereon;

17          3.      Award punitive damages on the causes of action that allow for them and in an amount

18 that will deter Defendant and others from like conduct;

19          4.      Award attorneys’ fees and costs, as allowed by law including, but not limited to,

20 California Code of Civil Procedure section 1021.5;

21          5.      Award pre-judgment and post-judgment interest, as provided by law; and,

22          6.      For such other, further, and different relief as the Court deems proper under the

23 circumstances.

24 DATED: June 17, 2022                        KIESEL LAW LLP

25

26
                                               By:           /s/ Jeffrey A. Koncius
27                                                   Paul R. Kiesel
                                                     Jeffrey A. Koncius
28                                                   Nicole Ramirez
                                                      31
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 1                                     SIMMONS HANLY CONROY LLC
                                       Jason ‘Jay’ Barnes (to be admitted pro hac vice)
 2                                     An Truong (to be admitted pro hac vice)
                                       Eric Johnson (to be admitted pro hac vice)
 3

 4                                     GORNY DANDURAND, LC
                                       Stephen M. Gorny (to be admitted pro hac vice)
 5
                                       THE SIMON LAW FIRM, P.C.
 6                                     Amy Gunn (to be admitted pro hac vice)
 7
                                       Attorneys for Plaintiffs
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 1 IX.      DEMAND FOR JURY TRIAL

 2          Plaintiff, on behalf of himself and the Class, demands a trial by jury of any and all issues in

 3 this action so triable of right.

 4 DATED: June 17, 2022                        KIESEL LAW LLP

 5

 6
                                               By:           /s/ Jeffrey A. Koncius
 7                                                   Paul R. Kiesel
                                                     Jeffrey A. Koncius
 8                                                   Nicole Ramirez
 9                                                   SIMMONS HANLY CONROY LLC
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                                                     Attorneys for Plaintiffs
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                                         CLASS ACTION COMPLAINT
